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                 UNITED STATES BANKRUPTCY COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re: TIMOTHY HAYES,                           :        Case No. 16—11983REF
           Debtor                               :        Chapter 7



315 BOWERY HOLDINGS, LLC and                    :        Adv. No. 16-186
                                                '
      CBGB FESTIVAL, LLC,
          Plaintiffs
                    vs.
      TIMOTHY HAYES,

                                      ORDER
             AND NOW, this 26 day of June, 2018, upon my consideration of the

Status Report ﬁled by Plaintiffs on June 22, 2018,       IT IS HEREBY ORDERED that

a status conference shall be   held in this adversary proceeding


                           On:     Tuesday, July 10, 2018
                           At:     9:30 a.m.
                           In:     Courtroom N0. 1
                                   Third Floor, The Madison
                                   400 Washington St.
                                   Reading, PA.

to discuss, 191g g_1i_a_, the status of: (1) The New York state court action, captioned

and docketed at SW Productions, Inc. V. CBGB Festival, LLC, No. 652990/2014

(Sup. Ct. N.Y. County 2014); (2) the deposition     of Defendant presently scheduled

to be held on July 17, 2018; and (3) the settlement between Plaintiffs and

Defendant, referred to in paragraph 4   of Plaintiffs’   June 22, 2018 Status Report.
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      IT IS FURTHER ORDERED that Defendant shall appear in person        at the

July 10, 2018 status conference.


                                     BY THE CQURT



                                     United States Bankruptcy Judge
